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         EXHIBIT 14
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                       From: Saori Casey <                     >
                     Subject: Q1 model
                Received(Date): Thu, 25 Oct 2018 17:54:21 -0700
                          To: Kevan Parekh <                     >
                 Attachment: PastedGraphic-7.pdf
                        Date: Thu, 25 Oct 2018 17:54:21 -0700




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                                                               Case 4:19-cv-02033-YGR Document 296-7 Filed 09/09/22 Page 3 of 3
          Q1'19 P&L Dashboard                                                                                                       XR (Mu) =             32.2           29.0                           26.8                         26.8                           32.7
          Scenarios 10/25 (w/GAAP Product/Services change est)             A              B              C              D               E             I              J               K              L               M            N                O             P                 Q
                                                                                                                                                           Q1'19
                                  ASP restated to GAAP                   10/25          Guidance Range Placeholder                                  10/23          10/25                          10/25                         10/23                          10/25

                                                                       Consensus                                                    Column D                                  Column J          Column L                Column N                                        Column P
                                                                      (ASP restated                                                    vs.                         Current       vs.               vs.      Low iPhone,    vs.                                             vs.
    Row    $M, Sell In K units     Q1'18        Q4'18       First Call to GAAP)         Low           Mid Point       High          Consensus Oct Fcst v2           Likely   Consensus Low Case Consensus Likely Rest Consensus                              High Case Consensus
      1 iPhone units                 77,316      46,890                    77,744        74,000          75,500        77,000            (744)       76,568           73,088     (4,656) 71,835     (5,909)     71,835      (5,909)                              78,117        373
      2                 YoY             -1%          0%                          1%            -4%            -2%             0%                           -1%             -5%                           -7%                          -7%                               1%
      3           Sequential            66%         14%                         66%            58%            61%            64%                           63%             56%                           53%                          53%                              67%
      4                ASP              790         784                         800             827           829             830             31           835             826             27             821            21            821             21               836            36
      5 Mac units                     5,112       5,299                     4,926         5,250           5,500         5,750               824       5,592           5,581              655        5,273               347       5,581               655        5,868                942
      6                 YoY             -5%          -2%                         -4%             3%            8%            12%                             9%             9%                            3%                           9%                            15%
      7           Sequential            -5%          42%                         -7%            -1%            4%             9%                             6%             5%                            0%                           5%                            11%
      8                ASP            1,335        1,385                       1,398          1,434          1,429          1,423             26          1,424          1,424           27             1,434            37          1,424           27             1,416            18
      9 iPad units                  13,170        9,699                    13,269        14,000          14,250        14,500           1,231        14,276          14,493          1,224         14,024               755      14,493           1,224         15,264            1,995
     10                 YoY              1%          -6%                         1%             6%             8%            10%                            8%            10%                             6%                          10%                              16%
     11           Sequential            28%         -16%                        37%            44%            47%            49%                           47%            49%                            45%                          49%                              57%
     12                ASP              437          411                        432             451            448           445              13           450            449            17               450          18             449            17                449           17
     17 Watch units                  6,919        3,448                     6,968         8,300           8,550         8,800           1,832         8,736           8,698          1,730          8,300           1,332         8,662           1,694          9,444            2,476
     18                 YoY             58%          39%                         1%            20%            24%            27%                           26%            26%                            20%                          25%                            36%
     19           Sequential           179%          -8%                       102%           141%           148%           155%                          153%           152%                           141%                         151%                           174%
     20                ASP               347          368                        434            408            404            399            -35            406            404            -31             408           (26)           403            (31)            397             (37)

     21 Revenue (M$)              $88,293      $62,900  $ 93,015        $92,778        $93,000        $95,000        $97,000        $   4,222      $96,553        $93,033        $       255     $90,692        $   (2,086)    $91,606        $   (1,172)    $99,181          $   6,403
     22               YoY              13%          20%       5%               5.1%             5%             8%           10%                           9.4%              5%                            3%                           4%                            12%
     23          Sequential            68%           18%                        48%            48%            51%           54%                            54%             48%                           44%                          46%                            58%
     28 Gross Margin               $33,913      $24,085                   $35,812        $35,619       $36,623        $37,636 $         1,824       $37,324         $35,675 $            (137)    $34,616                       $34,965                        $38,399
     29         % revenue           38.4%        38.3%        38.8%        38.6%         38.3%         38.55%          38.8%            0.20%       38.66%          38.35%           -0.3%         38.2%             -0.4%       38.2%             -0.4%        38.7%                 0.1%
     30 OpEx                        $7,638       $7,965                    $8,536        $8,800          $8,750        $8,700 $           164        $8,824         $8,824       $    288          $8,824 $           288        $8,824 $           288         $8,824        $       288
     31           % of revenue         8.7%        12.7%                       9.2%           9.5%           9.2%           9.0%                           9.1%          9.5%                           9.7%                         9.6%                           8.9%
     32                     YoY         12%          17%                        12%            15%            15%            14%                           16%             16%                           16%                            16%                            16%
     34 Op Mrgn                    $26,275      $16,120                   $27,277       $26,819         $27,873       $28,936                       $28,500         $26,851 $         (426)       $25,792 $         (1,485)     $26,141 $         (1,136)      $29,575 $          2,299
     35 OpMrgn %                     29.8%        25.6%       29.6%        29.4%         28.8%           29.3%          29.8%               0.4%      29.5%           28.9%          -0.5%          28.4%             -1.0%       28.5%            -0.9%         29.8%             0.4%
     36                 YoY             12%          23%                         4%             2%             6%            10%                            8%             2%                            -2%                            -1%                            13%
     37 OI&E                         $756         $303                      $300          $300           $300           $300                           $375           $375                           $375                         $375                            $375
     38 Tax                         $6,965       $2,296                    $4,357        $4,475         $4,648         $4,824                        $4,764          $4,492                         $4,318                       $4,375                         $4,942
     39             Tax rate          25.8%        14.0%                       15.8%          16.5%          16.5%          16.5%                         16.5%          16.5%                          16.5%                        16.5%                          16.5%
     40 Net Income                 $20,066      $14,127                  $23,220        $22,644        $23,524        $24,412 $         1,192       $24,111        $22,734       $   (486)        $21,850 $         (1,370)     $22,141 $         (1,079)     $25,009 $           1,789
     41        % of revenue             23%          22%                        25%            24%            25%            25%                           25%            24%                            24%                          24%                            25%
     42                 YoY             12%          32%                        16%            13%            17%            22%                           20%            13%                             9%                          10%                            25%
     43 Shares                         5,158        4,848                      4,750          4,771          4,771          4,771                         4,771          4,771                          4,771                        4,771                          4,771
     44       Diluted EPS            $3.89        $2.91        $4.95        $4.89          $4.75          $4.93          $5.12          $0.23          $5.05          $4.77          -$0.12          $4.58          -$0.31         $4.64          -$0.25          $5.24           $0.35
     45                 YoY             16%          41%                        26%            22%            27%            32%                           30%             22%                           18%                            19%                            35%
          Revenue $M (post GAAP change est)                       Y/Y                                                                        Y/Y                                          Y/Y                           Y/Y                           Y/Y                             Y/Y
     46 iPhone               $61,103   $36,755                   29%      $62,179       $61,178        $62,563        $63,947                5%     $63,945         $60,397              -1%      $58,989               -3%     $58,989               -3%      $65,290                 7%
     47 Mac                   $6,824    $7,340                    3%       $6,885        $7,526         $7,856         $8,185               20%      $7,963          $7,950              16%       $7,564               11%      $7,950               16%       $8,307                22%
     48 iPad                  $5,755    $3,983                  -15%       $5,733        $6,309         $6,380         $6,451               12%      $6,428          $6,501              13%       $6,317               10%      $6,501               13%       $6,858                19%
     49    Watch                     $2,400       $1,268        47%         $3,026        $3,387          $3,450        $3,513              46%       $3,544          $3,511             46%        $3,387              41%       $3,492              46%        $3,748               56%
     50    W/H/A (ex Watch)          $3,081       $2,955        25%         $3,603        $3,757          $3,942        $4,126              34%       $3,919          $3,924             27%        $3,785              23%       $3,924              27%        $4,126               34%
     51 Wrbls/Home/Accy             $5,481       $4,223         31%       $6,630          $7,144         $7,391         $7,639              39%       $7,463         $7,435              36%        $7,172            31%         $7,416           35%           $7,875            44%
     52 Total Products              79,163       52,301         20%       81,427         82,157         84,189         86,222                9%      85,798         82,283                4%       80,041              1%        80,856             2%          88,331             12%
     53 Services                    $9,129      $10,599         16%      $11,242        $10,651        $10,751        $10,851               19%     $10,755        $10,751               18%      $10,651             17%       $10,751            18%         $10,851             19%
     55 Total Revenue              $88,292      $62,900         20%      $92,669        $92,809        $94,941        $97,073               10%     $96,553        $93,034                5%      $90,693              3%       $91,607             4%         $99,182             12%



      Q1-19 P&L 10-25.xlsx                                                                                     Apple Confidential - Need to Know                                                                                                      10/25/18 5:53 PM


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